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   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11       FORTINO S.,1                             No. LA CV 19-04017 VBF (RAO)
  12                         Plaintiff,
  13             v.                                 ORDER ACCEPTING REPORT
                                                    AND RECOMMENDATION OF
  14       ANDREW M. SAUL,2                         UNITED STATES MAGISTRATE
           Commissioner of Social Security,         JUDGE
  15                        Defendant.
  16

  17            Pursuant to 28 U.S.C. § 636, the Court has reviewed the complaint, all of the
  18   other records and files herein, and the Report and Recommendation of United States
  19   Magistrate Judge (“Report”). The Court has further engaged in a de novo review of
  20   those portions of the Report to which Plaintiff has objected.
  21            The Court hereby accepts and adopts the findings, conclusions, and
  22   recommendations of the Magistrate Judge.
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         Plaintiff’s name is partially redacted in compliance with Federal Rule of Civil
       Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
  26   Administration and Case Management of the Judicial Conference of the United
  27   States.
       2
         Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Andrew M. Saul,
  28   the current Commissioner of Social Security, is hereby substituted as the defendant.
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   1         IT IS ORDERED that the decision of the Commissioner of Social Security is
   2   affirmed, and this action is dismissed with prejudice.
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       DATED: September 18, 2020              ___________________________________

   5                                            Hon. VALERIE BAKER FAIRBANK
   6                                            UNITED STATES DISTRICT JUDGE

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